
USCA1 Opinion

	







                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1257

                        UNITED STATES OF AMERICA ON BEHALF OF
                            PITTSBURGH TANK &amp; TOWER, INC.,

                                Plaintiff, Appellant,

                                          v.

                               G &amp; C ENTERPRISES, INC.,

                                 Defendant, Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,

                                   Circuit Judges.
                                   ______________

                                 ____________________

            Wayne P. Doane with whom  Kevin M. Cuddy and  Cuddy &amp; Lanham  were
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        on brief for appellant.
            Joanne F. Cole  with whom W. John  Amerling and Amerling &amp;  Burns,
            ______________            _________________     __________________
        P.A. were on brief for appellee.
        ____



                                 ____________________

                                   August 10, 1995
                                 ____________________




















                 Per Curiam.  This case  involves the validity of a forum
                 __________

            selection clause in a construction subcontract.  Appellee G &amp;

            C Enterprises, Inc., was the general contractor on a  project

            to construct  a jet fuel  storage and distribution  system at

            Bangor  International  Airport  for  the  military.    G &amp;  C

            subcontracted  work  on  two large  fuel  tanks  to appellant

            Pittsburgh  Tank  &amp;  Tower,  Inc. for  an  agreed  payment of

            $343,000.    Pittsburgh  Tank  agreed  to  complete  discrete

            portions of its work in  accord with deadlines spelled out in

            the  subcontract,  and  to  indemnify  G &amp;  C  for  any  loss

            resulting from delays caused by Pittsburgh Tank.

                 Pittsburgh  Tank completed its work but, contending that

            Pittsburgh  Tank had  failed to  meet  its deadlines,  G &amp;  C

            retained approximately $120,000 from the contract price.  

            Pittsburgh  Tank  then  filed  the  instant  action  for  the

            $120,000  in federal  district court  in  Maine, asserting  a

            claim against G &amp; C for breach of the subcontract and a claim

            on G &amp;  C's payment bond  under the Miller  Act, 40 U.S.C.   

            270b.     The  Miller  Act  bond  protects  contractors  (and

            subcontractors)  who have furnished  labor or materials  on a

            federal construction project,  and a suit on the  bond can be

            brought in  federal court.   United States ex rel  Sherman v.
                                         _____________ _______________

            Carter, 353 U.S. 210 (1957).
            ______

                 G &amp; C moved  to dismiss for improper venue, relying on a

            forum  selection clause  in  the subcontract,  which provided



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            that "venue  of all  suits arising  against CONTRACTOR  under

            this contract shall  be in Burlington County[,  New Jersey]."

            Pittsburgh Tank  argued that  the Miller  Act's venue  clause

            trumped the contrary venue provision in the subcontract.  The

            Miller Act states that suit is to be brought "in any district

            in which  the contract was  to be performed and  executed and

            not elsewhere . . .  ."  40 U.S.C.   270b(b).  The magistrate

            judge  and  the  district court  rejected  Pittsburgh  Tank's

            argument  and  dismissed the  complaint  for  improper venue.

            This appeal followed.

                 Pittsburgh  Tank contends that  the venue clause  in the

            Miller Act is jurisdictional, and the parties cannot contract

            around it.   The provision for venue in  a particular federal

            court "and not elsewhere" could  be taken as a statement that

            no other federal court has  jurisdiction to hear a Miller Act

            claim.    In  the  past, lower  federal  courts  took varying

            positions on the import of this ambiguous clause.  See, e.g.,
                                                               _________

            Gigliello v. Sovereign Constr. Co. Ltd., 311 F. Supp. 371 (D.
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            Mass.  1970)  (interpreting  the clause  as  jurisdictional);

            Vermont Marble Co.  v. Roscoe-Ajax Constr. Co.,  246 F. Supp.
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            439  (N.D. Cal. 1965)  (discussing the "divergence  of views"

            about the meaning of the venue clause).

                 The  Supreme Court, however,  seems to have  settled the

            question in F.D. Rich Co.  v. Industrial Lumber Co., 417 U.S.
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            116 (1974).  In the course of deciding a venue question  in a



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            Miller Act case,  the Court said that the  statutory language

            in question was "merely a venue requirement."  Id. at 124-26.
                                                           ___

            Most  of the  cases after  Rich have  said that  the disputed
                                       ____

            provision  is simply  a  venue  statute.   See,  e.g., In  re
                                                       __________  ______

            Fireman's Fund  Ins. Cos., 588  F.2d 93, 95 (5th  Cir. 1979);
            _________________________

            Arrow  Plumbing &amp;  Heating, Inc.  v.  North Amer.  Mechanical
            ________________________________      _______________________

            Servs. Corp., 810 F. Supp. 369, 370 (D.R.I. 1993).
            ____________

                 Under conventional venue statutes, venue provisions have

            long been subject to contractual waiver through a valid forum

            selection agreement.  See, e.g., National Equip. Rental. Ltd.
                                  _________  ____________________________

            v. Szukhent,  375 U.S. 311  (1964).  Pittsburgh Tank  has not
               ________

            argued  that the  selection  clause  in  the  subcontract  is

            invalid under traditional  standards (e.g., for fraud).   See
                                                  ____                ___

            Fireman's Fund Amer. Ins. Co. v. Puerto Rican Forwarding Co.,
            _____________________________    ___________________________

            492  F.2d 1294, 1297 (1st Cir. 1974).  And although the forum

            selection  clause here  refers to  a  county that  apparently

            contains  no federal  court, both  parties  have treated  the

            clause as providing for  venue in the federal  district court

            for the district of New  Jersey.  Accord, Arrow Plumbing, 810
                                              ______  ______________

            F. Supp. at 370.

                 We agree  with appellant that the Supreme  Court in Rich
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            was not focusing  on anything quite like the  problem in this

            case and  Rich's venue reference  was something of  an aside.
                      ____

            Still,   the  designation  is   explicit  ("merely   a  venue

            requirement") and  very  hard for  a lower  federal court  to



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            ignore.   Possibly  there are  reasons  why the  Miller Act's

            policies  would warrant different standards for waiver of its

            venue provisions than  the standards conventionally  applied.

            But  no such argument  is made in  this case, so  we need not

            pursue that issue here.

                 The  only remaining  question is  whether  the dismissal

            should  be  affirmed  or  the  case  should be  remanded  for

            transfer  to a  New  Jersey district  court,  pursuant to  28

            U.S.C.    1406(a).  No such request  was made to the district

            court or in  Pittsburgh Tank's brief in  this court.   But it

            emerged at oral argument that the special one-year statute of

            limitations may  have run under  the Miller Act, 40  U.S.C.  

            2706(b); counsel for G  &amp; C is to  be commended for  advising

            the court that such a problem may exist.  However, it appears

            that  Pittsburgh Tank may still  sue on the subcontract under

            state  law  without  the  Miller  Act claim.    There  is  no

            indication that the general contractor is insolvent.

                 Under  these  circumstances, we  affirm  outright rather

            than remanding for  consideration of a transfer.   It is rare

            in a civil action to afford relief not requested in the trial

            court  and,  at  a  minimum,  further  proceedings  would  be

            required in the district court to allow  G &amp; C an opportunity

            to argue against transfer.  Since Pittsburgh Tank's state-law

            contract claim apparently remains intact, we see no equitable

            reason for a remand.   Pittsburgh Tank is free to pursue  the



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            matter in the district court under Fed. R. Civ. P. 60(b), but

            we express no views on the merits of such an endeavor.

                 Affirmed.
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